                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

               UNITED STATES OF AMERICA v. LAWRENCE J. LAWSON, JR.

                             Case No. 3:16-cr-00121-TMB-DMS


By:                   THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:          ORDER FROM CHAMBERS

       Having reviewed de novo Magistrate Judge Smith’s Initial Report and Recommendation
on Defendant’s Motion for Reconsideration of Order on Defendant’s Motion to Dismiss Count
Five for Failure to State a Criminal Offense (Docket 235), in conjunction with the parties'
Objections and Responses (Dockets 249, 250 & 259), and the Magistrate’s Final Report and
Recommendation (Docket 301), the Court hereby adopts and accepts the Final Report and
Recommendation in its entirety. Consequently, Defendant’s Motion for Reconsideration of
Order on Defendant’s Motion to Dismiss Count Five for Failure to State a Criminal Offense
(Docket 208) is DENIED AS MOOT.

       IT IS SO ORDERED.




Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.


DATE: July 10, 2018




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